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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA
----------------------------------------------------------------------X
TRUSTEES of the IAM NATIONAL PENSION                                  :
FUND                                                                  :
99 M Street, S.E., Suite 600                                          :
Washington, D.C. 20003-3799,                                          : No.: ____________
                                                                      :
                                                  Plaintiffs,         :
                                                                      :
                            - against -                               :
                                                                      :
M & K EMPLOYEE SOLUTIONS, LLC                                         :
8800 Byron Commerce Drive, SW                                         :
Byron Center, Michigan 49315;                                         :
                                                                      :
M & K EMPLOYEE SOLUTIONS, LLC-ALSIP                                   :
8800 Byron Commerce Drive, SW                                         :
Byron Center, Michigan 49315;                                         :
                                                                      :
M & K EMPLOYEE SOLUTIONS, LLC-ILLINOIS                                :
LEASING                                                               :
8800 Byron Commerce Drive, SW                                         :
Byron Center, Michigan 49315;                                         :
                                                                      :
M & K EMPLOYEE SOLUTIONS, LLC-JOLIET                                  :
8800 Byron Commerce Drive, SW                                         :
Byron Center, Michigan 49315;                                         :
                                                                      :
M & K EMPLOYEE SOLUTIONS, LLC-NORTHERN :
ILLINOIS                                                              :
8800 Byron Commerce Drive, SW                                         :
Byron Center, Michigan 49315;                                         :
                                                                      :
M & K EMPLOYEE SOLUTIONS, LLC-SUMMIT                                  :
8800 Byron Commerce Drive, SW                                         :
Byron Center, Michigan 49315;                                         :
                                                                      :
XYZ CORPORATIONS 1-10; and                                            :
                                                                      :
JOHN and JANE DOES 1-10,                                              :
                                                                      :
                                                  Defendants.         :
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                                          COMPLAINT

       Plaintiffs, the Trustees (the “Trustees”) of the IAM National Pension Fund (the “Fund”),

by and through their undersigned counsel, bring this action against Defendants M & K Employee

Solutions, LLC (“M&K”), M & K Employee Solutions, LLC-Alsip (“M&K Alsip”), M & K

Employee Solutions, LLC-Illinois Leasing (“M&K Illinois Leasing”), M & K Employee

Solutions, LLC-Joliet (“M&K Joliet”), M & K Employee Solutions, LLC-Northern Illinois

(“M&K Northern Illinois”), M & K Employee Solutions, LLC-Summit (“M&K Summit”),

fictitious entities XYZ Corporations 1-10, and fictitious individuals John and Jane Does 1-10, and

allege as follows:

  I.   INTRODUCTION

       1.      This is an action under the Employee Retirement Income Security Act of 1974, as

amended (“ERISA”) to recover statutorily prescribed withdrawal liability arising out of M&K

Alsip’s complete withdrawal from the Fund as of December 31, 2018.

       2.      Pursuant to ERISA § 4301, 29 U.S.C. § 1451, the Trustees, on behalf of the Fund,

seek to recover $705,442.00 in M&K Alsip’s outstanding interim withdrawal liability payments,

as well as liquidated damages, interest, attorneys’ fees, and costs, in amounts to be determined.

 II.   JURISDICTION AND VENUE

       3.      This Court has personal jurisdiction over the Defendants because, pursuant to

ERISA § 4301(d), 29 U.S.C. § 1451(d), they reside and do business within the United States.

       4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because the

Trustees are fiduciaries of the Fund who seek relief pursuant to ERISA § 4301, 29 U.S.C. § 1451.

       5.      Venue is proper in this District pursuant to ERISA § 4301(d), 29 U.S.C. § 1451(d),

because the Fund is administered in this District.




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III.   PARTIES

       6.      The Fund is an employee benefit plan within the meaning of ERISA §§ 3(1) to (3)

and 502(d)(1), 29 U.S.C. §§ 1002(1) to (3) and 1132(d)(1), and a multi-employer plan within the

meaning of ERISA §§ 3(37) and 515, 29 U.S.C. §§ 1002(37) and 1145. The Fund is administered

from 99 M Street, S.E., Suite 600, Washington, D.C. 20003-3799.

       7.      Plaintiffs are the Trustees of the Fund, and bring this action solely in their capacities

as fiduciaries of the Fund pursuant to ERISA §§ 3(21) and 4301(a)(1), 29 U.S.C. §§ 1002(21) and

1451(a)(1).

       8.      Defendant M&K is a for-profit Illinois series limited liability company having its

registered address at 8800 Byron Commerce Drive, SW, Byron Center, Michigan 49315. Upon

information and belief, Chad Boucher is the sole owner and member of M&K.

       9.      Defendant M&K Alsip is a for-profit series of an Illinois series limited liability

company having its registered address at 8800 Byron Commerce Drive, SW, Byron Center,

Michigan 49315. Upon information and belief, Chad Boucher is the sole owner and member of

M&K Alsip.

       10.     Defendant M&K Illinois Leasing is a for-profit series of an Illinois series limited

liability company having its registered address at 8800 Byron Commerce Drive, SW, Byron

Center, Michigan 49315. Upon information and belief, Chad Boucher is the sole owner and

member of M&K Illinois Leasing.

       11.     Defendant M&K Joliet is a for-profit series of an Illinois series limited liability

company having its registered address at 8800 Byron Commerce Drive, SW, Byron Center,

Michigan 49315. Upon information and belief, Chad Boucher is the sole owner and member of

M&K Joliet.




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       12.      Defendant M&K Northern Illinois is a for-profit series of an Illinois series limited

liability company having its registered address at 8800 Byron Commerce Drive, SW, Byron

Center, Michigan 49315. Upon information and belief, Chad Boucher is the sole owner and

member of M&K Northern Illinois.

       13.      Defendant M&K Summit is a for-profit series of an Illinois series limited liability

company having its registered address at 8800 Byron Commerce Drive, SW, Byron Center,

Michigan 49315. Upon information and belief, Chad Boucher is the sole owner and member of

M&K Summit.

       14.      Defendants XYZ Corporations 1-10 are fictitious entities whose identities are not

currently known to the Plaintiffs, but who, upon information and belief, were trades or businesses

under common control with M&K Alsip within the meaning of ERISA § 4001(b)(1), 29 U.S.C.

§ 1301(b)(1).

       15.      Defendants John and Jane Does 1-10 are fictitious individuals whose identities are

not currently known to the Plaintiffs, but who, upon information and belief, were sole

proprietorships under common control with M&K Alsip within the meaning of ERISA

§ 4001(b)(1), 29 U.S.C. § 1301(b)(1).

                                              COUNT I

         Interim Withdrawal Liability Payments Owed by M&K Alsip to the Fund
                  Pursuant to ERISA § 4301(a)(1), 29 U.S.C. § 1451(a)(1)

       16.      Plaintiffs repeat and reallege the foregoing allegations as if fully set forth herein.

       17.      M&K Alsip was a party to a series of collective bargaining agreements (the

“CBAs”) with the Automobile Mechanics’ Local No. 701, International Association of Machinists

and Aerospace Workers, AFL-CIO, with respect to which the Fund is a third-party beneficiary.




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       18.     Pursuant to the CBAs, as of October 1, 2012, M&K Alsip was required to remit

contributions to the Fund on behalf of those employees who performed work covered by the CBAs.

       19.     As of December 31, 2018, M&K Alsip permanently ceased to have an obligation

to contribute to the Fund, and therefore, effectuated a complete withdrawal from the Fund within

the meaning of ERISA § 4203(b), 29 U.S.C. § 1383(b).

       20.     In accordance with ERISA § 4219(b)(1) and (c)(1), 29 U.S.C. § 1399(b)(1) and

(c)(1), on June 14, 2019, the Fund notified M&K Alsip by letter that it had effectuated a complete

withdrawal from the Fund as of December 31, 2018, that its allocated share of the unfunded vested

liabilities of the Fund was $6,158,482.00, and that M&K Alsip was obligated to pay this amount

in twenty (20) quarterly installments of $352,721.00, plus a final payment of $31,709.00,

commencing by August 13, 2019.

       21.     After having not received the demanded payment, in accordance with ERISA

§ 4219(c)(2) to (6), 29 U.S.C. § 1399(c)(2) to (6), on September 19, 2019, the Fund notified M&K

Alsip by letter that it was in default of its obligation to make its first interim withdrawal liability

payment of $352,721.00 by August 13, 2019, and offered M&K Alsip an opportunity to cure the

default. The letter also notified M&K Alsip that if it failed to timely cure the default, the Trustees

may pursue legal action to collect any outstanding withdrawal liability payments.

       22.     On November 20, 2019, M&K Alsip filed a Demand for Arbitration with the

American Arbitration Association, seeking a reversal or adjustment of the withdrawal liability

assessment.

       23.     Pursuant to ERISA § 4219(c), 29 U.S.C. § 1399(c), M&K Alsip is liable to pay

each quarterly installment payment of withdrawal liability as it becomes due, notwithstanding any

request for review or arbitration demand.




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        24.     On December 10, 2019, the Fund notified M&K Alsip by letter that it was in default

of its obligation to make its second interim withdrawal liability payment of $352,721.00 by

November 13, 2019, and offered M&K Alsip an opportunity to cure the default. The letter also

notified M&K Alsip that if it failed to timely cure the default, the Trustees may pursue legal action

to collect any outstanding withdrawal liability payments.

        25.     More than sixty (60) days have elapsed since the Fund notified M&K Alsip of its

failure to make its first and second interim withdrawal liability payments, and M&K Alsip has

failed to cure its defaults.

        26.     Plaintiffs, the Trustees of the Fund, demand judgment against M&K Alsip for

$705,442.00 in outstanding interim withdrawal liability payments, as well as liquidated damages,

interest, attorneys’ fees, costs, and all other relief that the Court may deem just and appropriate.

                                             COUNT II

              Controlled Group Liability Owed by M&K, M&K Illinois Leasing,
              M&K Joliet, M&K Northern Illinois, and M&K Summit to the Fund
                   Pursuant to ERISA § 4301(a)(1), 29 U.S.C. § 1451(a)(1)

        27.     Plaintiffs repeat and reallege the foregoing allegations as if fully set forth herein.

        28.     Upon information and belief, as of December 31, 2018, Chad Boucher was the sole

owner and member of Defendants M&K Alsip, as well as M&K, M&K Illinois Leasing, M&K

Joliet, M&K Northern Illinois, and M&K Summit.

        29.     Pursuant to ERISA § 4001(b)(1), 29 U.S.C. § 1301(b)(1), M&K, M&K Illinois

Leasing, M&K Joliet, M&K Northern Illinois, and M&K Summit are each a trade or business that

was under common control with M&K Alsip at the time of M&K Alsip’s complete withdrawal

from the Fund, and collectively, each of the aforementioned entities constitute a single employer

for purposes of withdrawal liability.




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       30.     Therefore, Defendants M&K, M&K Illinois Leasing, M&K Joliet, M&K Northern

Illinois, and M&K Summit are jointly and severally liable with M&K Alsip for the withdrawal

liability resulting from M&K Alsip’s complete withdrawal from the Fund.

       31.     Plaintiffs, the Trustees of the Fund, demand judgment against M&K, M&K Illinois

Leasing, M&K Joliet, M&K Northern Illinois, and M&K Summit in the amount of $705,442.00

for M&K Alsip’s outstanding interim withdrawal liability payments, as well as liquidated

damages, interest, attorneys’ fees, costs, and all other relief that the Court may deem just and

appropriate.

                                            COUNT III

         Controlled Group Liability Owed by XYZ Corporations 1-10 to the Fund
                  Pursuant to ERISA § 4301(a)(1), 29 U.S.C. § 1451(a)(1)

       32.     Plaintiffs repeat and reallege the foregoing allegations as if fully set forth herein.

       33.     As of December 31, 2018, fictitious entities XYZ Corporations 1-10 were trades or

businesses under common control with M&K Alsip within the meaning of ERISA § 4001(b)(1),

29 U.S.C. § 1301(b)(1).

       34.     As such, XYZ Corporations 1-10 are jointly and severally liable with M&K Alsip

for the withdrawal liability resulting from M&K Alsip’s complete withdrawal from the Fund.

       35.     Plaintiffs, the Trustees of the Fund, demand judgment against XYZ Corporations

1-10 in the amount of $705,442.00 for M&K Alsip’s outstanding interim withdrawal liability

payments, as well as liquidated damages, interest, attorneys’ fees, costs, and all other relief that

the Court may deem just and appropriate.




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                                             COUNT IV

           Controlled Group Liability Owed by John and Jane Does 1-10 to the Fund
                    Pursuant to ERISA § 4301(a)(1), 29 U.S.C. § 1451(a)(1)

       36.      Plaintiffs repeat and reallege the foregoing allegations as if fully set forth herein.

       37.      As of December 31, 2018, fictitious individuals John and Jane Does 1-10 were sole

proprietorships under common control with M&K Alsip within the meaning of ERISA

§ 4001(b)(1), 29 U.S.C. § 1301(b)(1).

       38.      As such, John and Jane Does 1-10 are jointly and severally liable with M&K Alsip

for the withdrawal liability resulting from M&K’s complete withdrawal from the Fund.

       39.      Plaintiffs, the Trustees of the Fund, demand judgment against John and Jane Does

1-10 in the amount of $705,442.00 for M&K Alsip’s outstanding interim withdrawal liability

payments, as well as liquidated damages, interest, attorneys’ fees, costs, and all other relief that

the Court may deem just and appropriate.

  Dated:     February 14, 2020                    PROSKAUER ROSE LLP

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